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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION
  ________________________________________________________________
                                   )
  FUSION ELITE ALL STARS, et al., )
                                   )
       Plaintiffs,                 )
                                   )
  v.                               )     No. 20-cv-2600-SHL-tmp
                                   )
  VARSITY BRANDS, LLC, et al.,     )
                                   )
       Defendants.                 )

                                  )
  JESSICA JONES, et al.,          )
                                  )
       Plaintiffs,                )
                                  )
  v.                              )     No. 20-cv-2892-SHL-tmp
                                  )
  VARSITY BRANDS, LLC, et al.,    )
                                  )
       Defendants.                )
                                  )
  ________________________________________________________________

    ORDER DENYING AS MOOT DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
       REGARDING OUT-OF-TIME DEPOSITION AND DENYING MOTION FOR
                              SANCTIONS
  ________________________________________________________________

        Before the court by order of reference is Defendants’ Motion

  for   Sanctions    and   for   Protective    Order   Regarding    Out-of-Time

  Deposition, filed on May 16, 2022. (ECF No. 296.) On May 19, 2022,

  per the undersigned’s instructions, the parties submitted notices

  regarding    the   status      of   the   outstanding   issues.   Defendants

  withdrew their motion for protective order as moot but maintained

  their request for sanctions, specifically the attorney’s fees
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  incurred in preparing and arguing the motion. For the reasons

  below, defendants’ withdrawn motion for protective order is DENIED

  as moot, and their motion for sanctions is DENIED.

                                I.        BACKGROUND

        The present related cases involve anti-trust claims brought

  against Varsity Brands, LLC, and affiliated brands and companies

  by three sets of plaintiffs: the Fusion plaintiffs, the Jones

  plaintiffs, and the American Spirit plaintiffs. On January 26,

  2021,   the   court   entered      an    Order   Establishing   Plaintiffs’

  Discovery Coordination Committee. (ECF No. 93.) The order laid out

  the responsibilities of the committee, including “coordinating

  across the three cases on the scheduling of depositions with

  Defendants and third parties to minimize duplication of deponents

  and questions at depositions.” (Id. at 5.) The undersigned also

  granted a Joint Motion to Facilitate Coordination of Depositions

  in the Related Actions brought by all plaintiffs on November 15,

  2021. (Fusion Elite ECF No. 172.) This order found that the

  complexity of the case and amount of overlapping witnesses would

  be best addressed through an automatic extension of deposition

  time where a certain witness was sought to be deposed by two or

  more of the plaintiff groups. In relevant part, the order stated:

        5. Plaintiffs in any one of the Related Actions may
        attend and question witnesses at depositions noticed in
        any of the other Related Actions.



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        6. Plaintiffs in any of the Related Actions may serve a
        notice of deposition with respect to any deposition
        noticed pursuant to Rule 30(b)(1) by Plaintiffs in one
        of the other Related Actions. For each additional notice
        that is served, Plaintiffs shall receive two additional
        hours to examine Defendants’ Witnesses, other than
        Defendant U.S. All Star Federation, Inc.’s (“USASF’s”)
        witnesses, in addition to the time provided in the
        Discovery Order, (ECF No. 89), entered in Fusion Elite
        (which provides for 7 hours), for a total of 11 hours
        should Plaintiffs in all three Related Actions notice
        the   deposition.   For  Defendant   USASF’s   witnesses
        Plaintiffs shall receive one additional hour for each
        additional notice served, for a total of nine hours
        should Plaintiffs in all three Related Actions notice
        the deposition. The additional time set forth herein
        will apply regardless of which Plaintiffs served the
        first notice. . . .

        8. Plaintiffs in the Related Actions may allocate the
        total deposition time amongst themselves as they choose.

  (Id. at 3-4.)

        Significant    motion   practice     was   undertaken   as    discovery

  proceeded. On February 18, 2022, the defendants filed a Motion to

  Dismiss or to Compel Discovery in the Alternative in the American

  Spirit case. (American Spirit ECF No. 171.) That motion dealt with

  American Spirit plaintiffs’ alleged failure to produce certain

  documents. Due to the relevance of those documents to certain

  depositions, American Spirit plaintiffs and defendants filed a

  Joint Motion to Permit the Deposition of Plaintiffs After the Close

  of Fact Discovery. (American Spirit ECF No. 187.) In that motion,

  both parties requested that the depositions of four American Spirit

  plaintiffs, including Ashley Haygood and David Owens, be allowed

  to be taken “30 days after any production ordered by the Court in

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  resolving ECF No. 171, or, if no such production is ordered, within

  30 days of the date of the Court’s order to that effect.” 1 (Id. at

  3.) Further, the parties requested that the proposed deadlines

  “apply notwithstanding the deadline for completion of depositions

  and general close of fact discovery set forth in [the Scheduling

  Order].” (Id.) The presiding district judge granted this motion on

  March 23, 2022, stating that “[t]he Court requires the deposition

  of Plaintiffs be taken no later than June 13, 2022 at the latest,

  but no later than thirty days after the Court orders any relief on

  Defendants’ Motion if that date is earlier than June 13, 2022.”

  (American Spirit ECF No. 188.) Later that day, the undersigned

  denied the defendants’ Motion to Dismiss but granted their Motion

  to Compel Discovery in the Alternative. (American Spirit ECF No.

  189.)

        Pursuant to these orders, the American Spirit plaintiffs and

  defendants scheduled Haygood’s deposition for May 10 and Owens’s

  deposition for May 17. (ECF No. 296-1 at 2.) On May 9, American

  Spirit counsel emailed defendants’ counsel notifying them of a

  production of documents pursuant to the court’s order in American

  Spirit (ECF No. 189), which included 161 documents from Haygood.

  Defendants’ counsel responded that day, stating that “[d]ue to


  1These depositions had initially been scheduled to take place in
  February and March 2022. It is further noted that Owens, while a
  named plaintiff in American Spirit, is not a party in Fusion Elite
  and Jones.
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  Plaintiffs’    belated    production     on   behalf     of   Ms.    Haygood,

  Defendants cannot proceed with Ms. Haygood’s deposition tomorrow.”

  (Id. at 3-4.) They instead proposed that Haygood be deposed on May

  18. (Id. at 4.) American Spirit counsel responded with apparent

  confusion, stating that “Ms. Haygood will not be available as you

  have already booked day 2 of the David Owens deposition for that

  day. . . .” (Id. at 3.) Defendants’ counsel responded that they

  had only scheduled one day for Owens’s deposition, and American

  Spirit counsel replied with the following at 5:37 p.m.:

        It is my understanding that Mr. Owens is scheduled for
        two days. The Fusion and Jones cases asked for two days
        as they have hours of questions for Mr. Owens on their
        Cross Motion for his deposition and I was told that the
        defendants would be taking up the whole first day for
        their questioning . . .

  (Id. at 2.) This appears to be the last communication between these

  two parties regarding the Owens deposition.

        Three   minutes    later,   at   5:40   p.m.,    defendants’    counsel

  received an email from a paralegal with Jones counsel’s law firm.

  Attached to this email was “Plaintiffs’ Cross Notice of Deposition

  of David Owens,” which was captioned as from both Jones plaintiffs

  and Fusion Elite plaintiffs. (ECF No. 296-3 at 2.) Defendants’

  counsel objected to the cross-notice on the morning of May 10.

  (ECF No. 296-4 at 8.) As grounds for their objection, counsel

  stated:

        As Plaintiffs are aware, the deadline for fact discovery
        in the Fusion Elite and Jones matters closed on April

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        18, 2022, with limited exceptions. Prior to the close of
        fact discovery, Plaintiffs did not notice Mr. Owens’
        deposition or move the Court for leave to take his
        deposition. Further, as the Plaintiffs are well aware,
        Rule 30(d)(1) limits depositions to “1 day of 7 hours”
        unless otherwise stipulated or ordered by the Court.
        Defendants do not stipulate to Mr. Owens’ deposition
        lasting more than 7 hours. Moreover, yesterday was the
        first time that anyone has indicated that Mr. Owens’
        deposition would extend into a second day, and counsel
        for USASF has a scheduling conflict on May 18 and is not
        available on that day.

  (Id.) Plaintiffs’ counsel responded by quoting the undersigned’s

  previous Order Granting Plaintiffs’ Joint Motion to Facilitate

  Coordination of Depositions in the Related Actions, specifically

  the portion allowing “Plaintiffs in any one of the Related actions”

  to “attend and question witnesses at depositions noticed in any of

  the other Related Actions.” (Id. at 7.) Defendants’ counsel argued

  that the cross-notice was “null and void and in violation of the

  Court’s scheduling order,” that plaintiffs required leave of court

  to   cross-notice    Owens    after    the   discovery    deadline,     that

  defendants neither agreed to nor were even asked to extend Owens’s

  deposition beyond seven hours, and stated that they planned to

  file a motion for sanctions and for a protective order to prevent

  the second day of deposition. (Id. at 5.)

        Three days later, defendants’ counsel again emailed Jones

  plaintiffs’ counsel, this time with an offer to “not file their

  motion for protective order if Plaintiffs would agree to complete

  their questioning of Mr. Owens on May 17, after Defendants conclude


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  their questioning.” (Id. at 3.) This offer did not specify how

  much time would be allotted for defendants’ questioning or how

  much     time   plaintiffs      would    be    left    with   to   question      Owens.

  Ultimately,      the    offer   was     seemingly     ignored,     as    there   is   no

  indication      in    the   record    that    anyone    responded       on   behalf   of

  plaintiffs. (Id. at 2.)

          On May 16, 2022, defendants filed the present motion, which

  contained many of the arguments described above, and which was

  referred to the undersigned on May 17. (ECF Nos. 296, 298.) Before

  the     undersigned     could   address       the   motion,    Owens’s       deposition

  commenced on the morning of May 17. Due to ongoing conflicts

  regarding       the   potential      second    day,    the    undersigned      held   an

  emergency hearing over video conferencing at plaintiffs’ request. 2



  2
      In a later notice, Defendants allege that:

          The Fusion Elite and Jones Plaintiffs disrupted the
          beginning of Mr. Owens’s deposition by insisting that
          Defendants withdraw the Motion. Defendants said they
          would not do so and the deposition commenced. After the
          first break, however, the Fusion Elite and Jones
          Plaintiffs insisted that the deposition not go forward
          at all unless Magistrate Judge Pham was contacted
          immediately. Defendants once again stated that the
          Fusion Elite and Jones Plaintiffs could conduct a
          reasonable follow up examination after Defendants were
          done with their questioning, but that Defendants would
          not withdraw their Motion if Plaintiffs intended to
          continue examining Mr. Owens on a second day. Plaintiffs
          refused to even go back on the record unless and until
          Defendants relented to their insistence that Magistrate
          Judge Pham be contacted immediately. Defendants acceded
          to Plaintiffs’ demand.

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  During this hearing, defendants’ counsel stated that they were

  amenable to allowing plaintiffs to ask questions after defendants

  finished their questioning, as long as plaintiffs’ questioning

  could be completed on May 17. Counsel for Owens stated that his

  client would be willing to continue with his deposition to as late

  as 10:00 p.m. that night. Plaintiffs’ counsel stated that this was

  the first they had heard of such a compromise and agreed. The

  undersigned     then     requested     that   both    parties     file    notices

  regarding     whether    any   issues    remained     outstanding        once    the

  questioning was completed. Both parties submitted notices on May

  19, 2022. Plaintiffs stated that the motion was moot. Defendants

  agreed, but preserved their request for sanctions, specifically

  the costs of preparing the motion and for the delay to Owens’s

  deposition caused by the hearing. (ECF Nos. 301, 302.)

                                   II.    ANALYSIS

        Defendants       “respectfully    request      that   the   Court         award

  Defendants their attorneys’ fees and costs incurred in connection

  with the Motion pursuant to Rules 30(d)(2)-(3), 37(a)(5) and

  37(b)(2) and the Court’s inherent authority.” Federal Rule of Civil

  Procedure 30(d)(2) states that the “court may impose an appropriate

  sanction – including the reasonable expenses and attorney’s fees




  (ECF No. 301 at 2.) Plaintiffs do not provide an account of any
  discussions held pre-hearing.


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  incurred by any party – on a person who impedes, delays, or

  frustrates the fair examination of the deponent.” Federal Rule of

  Civil Procedure 37(a)(5) states that if a motion to compel or for

  a protective order is granted, “the court must, after giving an

  opportunity to be heard, require the party or deponent whose

  conduct necessitated the motion, the party or attorney advising

  that conduct, or both to pay the movant's reasonable expenses

  incurred       in   making   the   motion,     including     attorney's     fees.”

  However, the court “must not order this payment if (i) the movant

  filed the motion before attempting in good faith to obtain the

  disclosure or discovery without court action; (ii) the opposing

  party's nondisclosure, response, or objection was substantially

  justified; or (iii) other circumstances make an award of expenses

  unjust.”

          Because the Motion for Protective Order was withdrawn, the

  court considers the present Motion for Sanctions under Rule 30.

  Thus,    the    undersigned    must    consider     whether    the     plaintiffs

  impeded, delayed, or frustrated the fair examination of David

  Owens, and if so, whether sanctions are warranted.

        The   dispute     involving     Owens’s    deposition    centered     around

  differing       interpretations       of   the     court’s     Order      Granting

  Plaintiffs’ Joint Motion to Facilitate Coordination of Depositions

  in the Related Action. That order permitted two extra hours of

  deposition time where a deposition was noticed by two or more

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  parties or allowed parties to attend and ask questions at other

  noticed depositions within the time permitted. Thus, for example,

  a witness noticed by only one of the plaintiffs’ groups would, by

  default, be deposed for one day of seven hours, but all plaintiffs’

  groups could attend that deposition and ask questions within those

  seven hours, which could be divided however the groups determined.

  (ECF No. 172 at 3-4.)

         Here, Owens was initially noticed by defendants, with his

  deposition allowed to take place beyond the discovery deadline due

  to District Judge Lipman’s order granting a joint motion filed by

  American Spirit plaintiffs and defendants. (American Spirit ECF

  No. 188.) The court’s prior Order Granting Plaintiff’s Joint Motion

  to     Facilitate    Deposition    applied     solely     to    “defendants’

  witnesses,” and thus the provisions for extra deposition time

  outlined above would not have applied to Owens’s deposition.

  However, Owens was then noticed by Fusion and Jones plaintiffs,

  apparently under the assumption that the extra time they believed

  they    were   entitled   to   under   the   court’s    prior   order   would

  automatically grant the plaintiffs a second day of deposition.

  This was incorrect; the order, had it applied, would have merely

  granted the plaintiffs an additional two hours of time. Further,

  the plaintiffs’ noticing of Owens was arguably inoperable given

  that their deadline for such notices under the Scheduling Order



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  had passed, with his deposition proceeding under special allowance

  from Judge Lipman.

         This late notice and the plaintiffs’ strained interpretation

  of the court’s prior order are concerning, but the court does not

  find that they warrant sanctions. Both sides of this dispute

  advanced an interpretation of prior orders that was most favorable

  to their case. If sanctions were warranted in such a situation,

  given the extensive motion practice in these three cases, the court

  would likely be managing near-constant money transfers. Further,

  the delay and frustration of the deposition here was minimal given

  the    complexities   and   history     of   this    case.   Any    harm   from

  plaintiffs’ actions is reflected solely in time spent preparing

  the motion and one delayed hour of deposition for an emergency

  hearing, which resolved all issues. No evidence has been withheld

  or    testimony   lost.   Given   the   minimal      delay   and   plaintiffs’

  colorable (albeit strained) argument, the court does not find that

  the sanction of attorney’s fees is warranted.

                                 III. CONCLUSION

         For the above reasons, the Motion for Protective Order is

  DENIED as moot and the Motion for Sanctions is DENIED.

         IT IS SO ORDERED.

                               s/ Tu M. Pham
                               TU M. PHAM
                               Chief United States Magistrate Judge

                               June 24, 2022          _____

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                               Date




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